
932 A.2d 1185 (2007)
401 Md. 493
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
Robert L. KLINE, III, Esquire, Respondent.
Misc. Docket AG, No. 22, Sept. Term, 2007.
Court of Appeals of Maryland.
September 25, 2007.

ORDER
Upon consideration of the Joint Petition for Disbarment by Consent filed herein pursuant to Maryland Rule 16-772, it is this 25th day of September, 2007
ORDERED, by the Court of Appeals of Maryland, that Robert L. Kline, III, be, and he is hereby, disbarred by consent from the further practice of law in the State of Maryland; and it is further,
ORDERED, that the Clerk of this Court shall strike the name of Robert L. Kline, III from the register of attorneys, and pursuant to Maryland Rule 16-772(d) shall certify that fact to the Trustees of the Client Protection Fund of the Bar of Maryland and the Clerks of all judicial tribunals in this State.
